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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                             BUTTE DIVISION


GALLATIN WILDLIFE
ASSOCIATION,                                       CV 15-27-BU-BMM

                      Plaintiff,                      JUDGMENT

  vs.

UNITED STATES FOREST
SERVICE, et al.,

                      Defendants.



        Jury Verdict. This action came before the Court for a trial by jury. The
 issues have been tried and the jury has rendered its verdict.

 X     Decision by Court. This action came before the Court for bench trial,
 hearing, or determination on the record. A decision has been rendered.

        IT IS ORDERED AND ADJUDGED that Final Judgment is entered in this

 matter pursuant to Federal Rule of Civil Procedure 54 and this action is dismissed.

        Dated this 7th day of May, 2019.

                                   TYLER P. GILMAN, CLERK

                                   By: /s/ Nicole Stephens
                                   Nicole Stephens, Deputy Clerk
